                           IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA



     ELIZABETH SINES ET AL.                              :      Case No. 3:17-CV-72

                    Plaintiff                           :      Judge MOON


                                                        :
           -v-

     JASON KESSLER ET AL.                               :

                                                        :
                    Defendants

     _______________________________________________________

       BRIEF IN SUPPORT OF MOTION TO DEEM CANTWELL AS JOINING IN DE 356
     _______________________________________________________


           In support of his motion, Mr. Cantwell states as follows:

           1. Undersigned Counsel moved to withdraw as Mr. Cantwell was in breach of

                 his contract to pay attorney fees.

           2. Mr. Cantwell responded to this motion by contacting undersigned and

                 bringing his account current.

           3. That being the case undersigned have withdrawn their motion to withdraw

                 as counsel for Cantwell.

           4. Cantwell was required to file his response in opposition to Plaintiff's motion

                 to compel on October 16.

           5. Cantwell was in breach of his attorney fee contract at that time.

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           6.   Cantwell is no longer in breach.

           7.   Had he not been in breach Cantwell would have fully joined in the law and

             argument presented in DE 356.

           8.   Mr. Cantwell's declaration attesting to his inability to pay for third party ESI is

                attached hereto.
           9.   It is equitable to deem Mr. Cantwell as having joined in DE 356 given the
                above described circumstance.
           Wherefore, Christopher Cantwell moves the Court to deem him as having

           filed his response in opposition via DE 356 or in the alternative grant him one

           business day from the date the Court denies this motion to file his respsonse in

           opposition to plaintiff's motion to compel.




                                                          Respectfully Submitted,


                                            s/ Elmer Woodard __________
                                            ELMER WOODARD (VSB 27734)
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                                                          Trial Attorney for Mr. Kline




                                    CERTIFICATE OF SERVICE

        I hereby certify this Notice and all accompanying documents were served via the
        Court’s ECF system on Ocober 19, 2018 upon:

        All parties of record. No party is entitled to or has requested service by other means.




                                                          s/ James Kolenich
                                                          ___________________
                                                          J. Kolenich(PHV)




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